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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION

JULIE STIEBRITZ,

       Plaintiff,                                                      Case No.: 1:25-cv-02755

v.                                                                     Judge Jorge L. Alonso

THE PARTNERSHIPS AND UNINCORPORATED                                    Magistrate Young B. Kim
ASSOCIATIONS IDENTIFIED ON SCHEDULE “A”,

       Defendants.


                                  NOTICE OF DISMISSAL

       Pursuant to Fed. R. Civ. P. 41(a)(1)(A)(i), Plaintiff hereby files this Notice of Voluntary

Dismissal, without prejudice, as to the following Defendant(s) identified on Schedule A of the

Complaint:

               NO.                                  DEFENDANT
                 1                           yidushiwajiushangmaodian
                 2                                     zixiangco
                 4                                    TopPerfekt
                13                                  Shouwu Shop
                15                                      Rcsocko
                16                                  BOHO DECO
                25                            BJ Premium Pillow Cover
                26                                Burnt Flower Shop
                27                                  Wall Art Home
                32                             Happy Stationery Shop
                35                             Preferred Carpet Home
                36                                 Silky Soft Carpet
                37                                 Happiness carpet
                38                  Awesome Selection - Seven Star Deer Home Fabric
                40                             Boutique Strength Shop
                42                              Strong Overlord Shop
                45                                  Cutie Pie Rugs
                46                                     Winxuan
                47                                 winshare Books
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DATED: April 20, 2025                      Respectfully submitted,

                                           /s/ Keith A. Vogt
                                           Keith A. Vogt (Bar No. 6207971)
                                           Keith Vogt, Ltd.
                                           33 W. Jackson Blvd., #2W
                                           Chicago, Illinois 60604
                                           Telephone: 312-971-6752
                                           E-mail: keith@vogtip.com

                                           ATTORNEY FOR PLAINTIFF
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                                 CERTIFICATE OF SERVICE


        The undersigned hereby certifies that a true and correct copy of the above and foregoing
document was electronically filed on April 20, 2025 with the Clerk of the Court using the CM/ECF
system, which will automatically send an email notification of such filing to all registered attorneys
of record.

                                                      /s/ Keith A. Vogt
                                                      Keith A. Vogt
